
PATTERSON, Chief Judge.
Robert Sampson appeals from the dismissal of his motion to reduce sentence pursuant to Florida Rule of Criminal Pro*612cedure 3.800(c). The trial court dismissed the motion for lack of jurisdiction, and we treat this appeal as a petition for writ of certiorari. See Martin v. State, 754 So.2d 793 (Fla. 2d DCA 2000); Davis v. State, 745 So.2d 499 (Fla. 1st DCA 1999). We deny the petition because Sampson filed his motion to reduce sentence well outside the sixty-day time limit provided for in rule 3.800(c).
BLUE and FULMER, JJ., concur.
